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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
                        _____________________________________

BRYANT DUANE THOMAS,

        Plaintiff,

v.

Original Lender, DHI HOME MORTGAGE             Civil Action No. 3:22-CV-1236
COMPANY; Servicer, WELLS FARGO
HOME MORTGAGE, DIVISION OF
WELLS FARGO BANK NA; and Investor
Trust GINNIE MAE,

        Defendants.

                                NOTICE OF REMOVAL

        Please take notice that defendant Government National Mortgage Association

(Ginnie Mae), which is a wholly owned government corporation within the U.S.

Department of Housing and Urban Development (HUD), hereby removes the action

pending as Cause No. 110792-422 in the 422nd Judicial District Court of Kaufman

County, Texas, to the Dallas Division of the United States District Court for the Northern

District of Texas, and as support would respectfully show as follows:

        1.      Cause No. 110792-422 was commenced upon the filing of a petition

(captioned a “Claim of Payoff, Recoupment, and 12 Member Trial By Jury Request”) by

plaintiff Bryant Duane Thomas in the 422nd Judicial District Court of Kaufman County

on April 29, 2022. The defendants are identified as DHI Home Mortgage Company (the

actual name of which is apparently DHI Mortgage Company), Wells Fargo Bank NA


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(identified as Wells Fargo Home Mortgage, Division of Wells Fargo Bank NA), and

Ginnie Mae. In the petition, Thomas appears to be invoking a variety of discredited

theories to challenge the validity of a loan he took out to purchase property in Kaufman

County at 2036 Lake Trail Drive, Heartland, Texas 75126,1 including based on an alleged

requirement for the defendants to produce an “Original blue ink signed” note and under a

theory that securitization of the loan would have somehow rendered it and the associated

mortgage unenforceable. Thomas also asserts that he was “forced under duress” to sign

the relevant loan documents and that he later “legally discharged” the debt through

payment of “232 pieces of silver” as well as a “$100,000.00 legal New Credit Agreement

Debt Lien Payoff Contract Security NOTE.” Thomas’s petition is sprinkled with various

nonsensical legalistic references to statutes and other supposed legal authorities familiar

to “sovereign citizen”-type litigants. For example, he includes an “affidavit of denial” in

which he identifies himself as “Bryant Thomas, a Jus soli citizen, harmed and injured

living man in this Land Court of Record in Exclusive Common Law Inviolate”; he refers

to the “United States of America land area” (apparently in an effort not to recognize the

United States of America as a legitimate country); and he appears to suggest that only

“maritime or admiralty jurisdiction” could possibly “bind[]” him. The petition also

includes as an exhibit a nonsensical “certified” document with various meaningless seals

and stamps identifying Thomas as a “Legal Private banker, Creditor, [and] National


1
  It appears that the instant action filed by Thomas may have been prompted by Wells Fargo’s filing of a
judicial foreclosure action with respect to this property a few weeks earlier in April 2022. See Plaintiff’s
Original Petition, Wells Fargo Bank, N.A. v. Thomas et al., No. 110567-CC2 (Kaufman Cty. Apr. 4,
2022).



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Bank,” apparently for the purposes of allowing Thomas to use his own “Registered New

Credit Agreement Debt Lien Payoff Securities” as legal tender (presumably to “pay off”

debts he has incurred in U.S. dollars). The state-court docket reflects that Thomas has

also recently filed an amended petition (captioned “Amended Complaint of Payoff

Recoupment”) against the same defendants and advancing similar theories.

        2.      This action is removable pursuant to 28 U.S.C. § 1442(a)(1), which

authorizes the removal of any “civil action . . . commenced in a State court” against

“[t]he United States or any agency thereof or any officer (or person acting under that

officer) of the United States or of any agency thereof, in an official or individual

capacity, for or relating to any act under color of such office.” This removal provision

applies in this case because Ginnie Mae is an instrumentality organized under HUD and

the HUD Secretary. As one court has explained,

                Ginnie Mae is a corporation that is wholly owned by the
                United States within the Department of Housing and Urban
                Development (“HUD”). 12 U.S.C. § 1717(a)(2)(A). All of
                the “benefits and burdens” of Ginnie Mae’s operations “inure
                solely to the Secretary of the Treasury,” id. § 1722, and all of
                Ginnie Mae’s powers and duties are “vested in the Secretary
                of Housing and Urban Development and . . . administered
                under the direction of the Secretary,” id. § 1723(a). Ginnie
                Mae therefore has the status of a federal agency. See Pension
                Ben. Guar. Corp. ex rel. St. Vincent Catholic Med. Centers
                Ret. Plan v. Morgan Stanley Inv. Mgmt. Inc., 712 F.3d 705,
                714 n.9 (2d Cir. 2013) (internal quotation marks and citation
                omitted) (“As securities issued by a federal agency, Ginnie
                Mae securities carry the full faith and credit of the United
                States.”); Gov’t Nat. Mortgage Ass’n v. Terry, 608 F.2d 614,
                615 (5th Cir. 1979) (“Ginnie Mae is an agency within the
                meaning of [28 U.S.C. § ] 1345 [United States as plaintiff].”);
                Channer v. Loan Care Serv. Ctr., Inc., No. 11-cv-135, 2011
                WL 2437270, at *1 (D. Conn. June 14, 2011) (“Federal


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                jurisdiction is conferred here because [Plaintiff] has sued
                Ginnie Mae, among others. Under 28 U.S.C. § 1442(a)(1),
                when a United States agency is sued in state court for an
                action committed in its official capacity, that agency may
                remove the action....”).

Sanchez v. Homestead Funding Corp., No. 3:13-CV-1850, 2014 WL 4145546, at *2 (D.

Conn. Aug. 19, 2014).

        3.      The purpose of the section 1442(a)(1) removal provision is to protect the

lawful activities of the federal government from undue state interference. See

Willingham v. Morgan, 395 U.S. 402, 405–06 (1969). Unlike the general removal

statute, which must be “strictly construed in favor of remand,” Manguno v. Prudential

Prop. & Cas. Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002), “[t]he Supreme Court has

stated that § 1442(a)(1) is to be construed broadly and ‘should not be frustrated by a

narrow, grudging interpretation,’” Humphries v. Elliot Co., 760 F.3d 414, 417 (5th Cir.

2014) (quoting Willingham v. Morgan, 395 U.S. 402, 407 (1969)). A case may be

removed even if a federal question arises as a defense rather than as a claim apparent

from the face of the plaintiff’s well-pleaded complaint. See Jefferson Cty. v. Acker, 527

U.S. 423, 431 (1999).

        4.      Here, removal is proper under section 1442(a)(1) because Ginnie Mae is an

agency of the United States (as discussed above). Further, although the text of the statute

does not specifically require it, there is caselaw suggesting that removal under section

1442(a)(1) should only occur when the defendant can assert a “colorable federal

defense.” See Mesa v. California, 489 U.S. 121, 136 (1989). To the extent that is

necessary, at least one such defense that is available to Ginnie Mae is the defense of


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sovereign immunity, because the petition nowhere identifies any statutory waiver of

sovereign immunity that would allow for Ginnie Mae to be subjected to suit in state court

on whatever claims Thomas is purporting to assert—and specifically to the extent

Thomas seeks injunctive relief against Ginnie Mae.2 See 12 U.S.C. § 1723a(a). A

second federal defense arises insofar as Ginnie Mae has apparently been sued by Thomas

based on Ginnie Mae’s involvement in the securitization of mortgages, but Ginnie Mae’s

activities in this respect are authorized and governed by federal law. See Bell v.

Thornburg, 743 F.3d 84, 89 (5th Cir. 2014) (explaining that a standing bankruptcy trustee

was authorized to remove a suit to federal court under section 1442(a)(1), where the

trustee’s actions at issue “were conducted under the color of office and while performing

his official duties”); see also Jefferson Cty., 527 U.S. at 431 (explaining that “suits

against federal officers may be removed despite the nonfederal cast of the complaint; the

federal-question element is met if the defense depends on federal law”). Pursuant to 12

U.S.C. § 1721(g), Ginnie Mae operates a mortgage-backed securities program under

which private lenders (known as “Issuers”) issue securities backed by federally insured or

guaranteed home mortgages. The Issuers either originate the loans or buy existing loans

from an originating lender, and then package the mortgages into groups known as

“pools,” with each pool backing a mortgage-backed security. These securities are sold to

private investors, and the funds generated by the sale repay the Issuer for funds that the




2
  Pursuant to the doctrine of derivate jurisdiction, this defect continues even after the case has been
removed.



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Issuer used to originate or to buy the loans. The securities are issued in a principal

amount equal to that of the pooled mortgages, and bear an interest rate slightly below that

of the mortgages. Mortgages eligible to back Ginnie Mae-guaranteed mortgage-backed

securities are those: (1) insured under the National Housing Act; (2) guaranteed by the

Department of Veterans Affairs; (3) guaranteed by the Rural Housing Service; or (4)

guaranteed by the Secretary of Housing and Urban Development under section 184 of the

Housing and Community Development Act of 1992. In connection with each pool of

loans for which an Issuer intends to issue a Ginnie Mae-guaranteed security, the Issuer

and Ginnie Mae execute a guaranty agreement. As a condition to providing the guaranty,

Ginnie Mae requires Issuers to assign the mortgages to Ginnie Mae. Ginnie Mae then

permits the Issuer to hold legal title and service the mortgage loans on its own behalf.

The assignment of the mortgage is required so that if the Issuer defaults on its obligation

to Ginnie Mae, Ginnie Mae can immediately extinguish the Issuer’s interests in the

mortgage loans. But unless and until Ginnie Mae defaults the Issuer, legal title to the

mortgage loans remain with the Issuer. See, e.g., United States v. NBD Bank, 922 F.

Supp. 1235 (E.D. Mich. 1996). Thus, given that Thomas appears to somehow be

claiming that Ginnie Mae’s involvement in the securitization of mortgages somehow

operates to render such mortgages unenforceable when the underlying loans go into

default (or otherwise), that issue implicates federal law which expressly authorized

Ginnie Mae’s activities.

                                   *      *      *      *




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        This case is subject to removal pursuant to 28 U.S.C. § 1442(a)(1) and is hereby

removed.

                                                  Respectfully submitted,

                                                  CHAD E. MEACHAM
                                                  UNITED STATES ATTORNEY

                                                  /s/ Brian W. Stoltz
                                                  Brian W. Stoltz
                                                  Assistant United States Attorney
                                                  Texas Bar No. 24060668
                                                  1100 Commerce Street, Third Floor
                                                  Dallas, Texas 75242-1699
                                                  Telephone: 214-659-8626
                                                  Facsimile: 214-659-8807
                                                  brian.stoltz@usdoj.gov

                                                  Attorneys for Defendant
                                                  Government National Mortgage
                                                  Association (Ginnie Mae)

                                    Certificate of Service

        On June 7, 2022, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas, using the electronic case

filing system of the court. I hereby certify that I have served all parties that have

appeared in the case with counsel electronically through the ECF system. Plaintiff will

be served by first-class mail to the address listed for him in the state-court record (2036

Lake Trail Dr., Heartland, TX 75126).

                                                  /s/ Brian W. Stoltz
                                                  Brian W. Stoltz
                                                  Assistant United States Attorney




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